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    In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                          No. 14-860V
                                    Filed: October 16, 2015

* * * * * * * * * * * * *                 *
ANTONIO DEFELICE,                             *       UNPUBLISHED
                                              *
                Petitioner,                   *       Special Master Hamilton-Fieldman
                                              *
       v.                                     *
                                              *       Influenza (“Flu”) Vaccine; Bilateral Vision
SECRETARY OF HEALTH                           *       Loss; Ruling Regarding Timing of Onset.
AND HUMAN SERVICES,                           *
                                              *
             Respondent.                      *
* * * * * * * * * * * * * *
Lawrence Joseph Disparti, Disparti Law Group, PA, Holiday, FL, for Petitioner.
Heather Lynn Pearlman, United States Department of Justice, Washington, DC, for Respondent.

                         RULING REGARDING FINDING OF FACT 1

        On September 17, 2014, Antonio Defelice (“Petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program. 2 Petitioner alleged that, as a result of receiving
an influenza (“flu”) vaccination on October 1, 2012, he suffered from permanent bilateral vision
loss.

        During a status conference held on July 22, 2015, the undersigned observed that the
parties’ experts disagree about the timing of onset of Petitioner’s vision loss, and determined that
a date of onset should be established before the case proceeds to an assessment of causation. See

1
  Because this ruling contains a reasoned explanation for the action in this case, the undersigned
intends to post this order on the United States Court of Federal Claims’ website, in accordance
with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified
as amended at 44 U.S.C. § 3501 and note (2006)). In accordance with Vaccine Rule 18(b), a
party has 14 days to identify and move to delete medical or other information that satisfies the
criteria in § 300aa-12(d)(4)(B). Further, consistent with the rule requirement, a motion for
redaction must include a proposed redacted decision. If, upon review, the undersigned agrees
that the identified material fits within the requirements of that provision, such material will be
deleted from public access.
2
  The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, 42
U.S.C. §§ 300aa-10 et seq. (hereinafter Vaccine Act or the Act). Hereafter, individual section
references will be to 42 U.S.C. § 300aa of the Act.


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Order, July 23, 2015, at 1. Among other things, the undersigned directed the parties to brief the
onset issue. Id. at 1-2. Petitioner filed his onset brief on October 6, 2015; Respondent filed her
onset brief on October 14, 2015. This case is now ripe for a factual finding regarding the timing
of onset of Petitioner’s bilateral vision loss.

        For the reasons set forth in Respondent’s October 14, 2015 brief, the undersigned now
finds, by a preponderance of the evidence, that Petitioner’s symptoms first occurred no later than
October 3, 2012.

       The Special Master hereby enters this finding of fact. The Special Master makes no
conclusion as to the significance of this in the context of Petitioner’s claim.

   IT IS SO ORDERED.

                                             s/Lisa D. Hamilton-Fieldman
                                             Lisa D. Hamilton-Fieldman
                                             Special Master




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